      Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 1 of 12                                      PageID #:
                                           277
Account Information - Generated 2019-05-23                                                   All times are US Eastern
                Account ID           1462099

                        Name         Nguyen Manh

                       Phone

                        Email        justyousmileme@gmail.com

                    Address

                             City

                     Country         Viet Nam

        Account Created              2016-06-17 12:26:34

         Account Closed              n/a (Current Subscriber)




Subscription Summary
Description                                                               Status    Price      Date Created           Date Closed
1024 MB (API)[45.76.144.147]                                               closed    $5.00   2018-06-04 22:52:42 2018-06-05 00:47:56

1024 MB (APICodes)[140.82.52.140]                                          closed    $5.00    2018-05-21 23:14:33 2018-05-22 20:28:17

512 MB (APICodes)[149.28.226.52]                                           closed    $2.50    2018-06-21 00:44:57 2018-06-21 00:52:24

512 MB CentOS 7 x64 - 207.246.93.79 (APICodes) (New York (NJ))             active    $2.50   2018-06-21 00:57:05

1024 MB (BASH)[45.77.169.80]                                               closed    $5.00    2018-08-16 04:35:31 2018-08-16 05:37:19

1024 MB (Down2)[45.32.172.159]                                             closed    $5.00    2018-07-21 23:05:47 2018-07-21 23:10:47

1024 MB (Down3)[207.246.118.220]                                           closed    $5.00    2018-07-21 23:07:11   2018-07-21 23:15:38

1024 MB (Downloader)[207.246.68.209]                                       closed    $5.00    2018-07-21 22:54:24 2019-03-12 04:33:50

8192 MB (GPhotos)[45.76.151.239]                                           closed   $40.00   2019-01-25 08:30:34 2019-01-25 10:48:15

8192 MB (GPhotos)[207.148.76.149]                                          closed   $40.00    2019-01-25 19:15:48 2019-01-26 00:35:26

16384 MB (GPhotos)[45.76.157.111]                                          closed   $80.00    2019-02-11 19:32:28 2019-02-12 08:13:26

16384 MB (GPhotosTest)[66.42.50.86]                                        closed   $80.00    2019-02-18 02:51:23 2019-02-18 09:58:30

16384 MB (GPhotosTest)[45.32.126.76]                                       closed   $80.00    2019-02-17 22:21:44 2019-02-17 23:44:38

8192 MB (GPhotosTest)[45.32.101.253]                                       closed   $40.00    2019-02-12 20:34:39 2019-02-12 22:05:57

2048 MB (hls)[45.77.23.207]                                                closed   $10.00   2019-03-25 09:34:34 2019-03-25 09:39:16

2048 MB (HLS)[45.76.190.25]                                                closed   $10.00 2019-03-25 09:39:32 2019-03-25 09:48:32

1024 MB CentOS 7 x64 - 108.61.250.68 (ITO) (Tokyo, Japan)
 IPv6: 2001:19f0:7001:1882:0000:0000:0000:0000 -                           active    $5.00   2016-06-21 23:04:05
      2001:19f0:7001:1882:ffff:ffff:ffff:ffff

512 MB (meTools)[45.32.191.33]                                             closed    $2.50    2017-03-26 22:33:47 2018-04-05 08:45:36

1024 MB (NODEJS)[108.61.186.131]                                           closed    $5.00    2017-08-05 11:22:22 2017-08-05 11:42:35

768 MB (OpenVPN)[45.76.153.217]                                            closed    $5.00    2016-11-05 05:16:41 2016-11-09 03:48:36

512 MB (OpenVPN)[45.76.204.27]                                             closed    $2.50    2017-03-05 02:42:11 2017-03-05 02:54:46

768 MB (OpenVPN)[108.61.182.252]                                           closed    $5.00    2017-01-24 03:44:03 2017-02-24 08:30:41

512 MB (P2P)[45.32.114.182]                                                closed    $3.50    2018-08-29 21:08:41 2018-08-29 23:00:21

512 MB (P2P)[45.32.113.61]                                                 closed    $3.50 2018-09-03 07:42:08 2018-09-03 08:50:28

512 MB (P2P)[139.180.219.83]                                               closed    $3.50    2018-10-27 20:56:51 2018-10-27 23:40:01

512 MB (P2P)[149.28.140.171]                                               closed    $3.50    2018-09-26 22:14:21 2018-09-27 03:45:38

512 MB (P2P)[66.42.59.48]                                                  closed    $3.50 2018-10-30 06:46:50 2018-10-30 07:02:01




                                                                 Exhibit "1"
      Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 2 of 12                                   PageID #:
                                           278
512 MB (P2P)[45.77.43.82]                                               closed    $3.50   2018-09-04 06:12:15 2018-09-04 06:42:13

512 MB (P2P)[45.76.152.64]                                              closed    $3.50   2018-11-03 21:42:48 2018-11-04 00:01:55

1024 MB (Sub)[45.32.238.89]                                             closed    $5.00   2017-10-15 09:28:58    2017-10-15 10:17:18

1024 MB (Sub)[45.32.54.193]                                             closed    $5.00   2017-10-16 01:02:36    2017-10-16 21:47:11

768 MB (ThemeLuxury)[45.76.193.92]                                      closed    $5.00   2016-09-19 08:33:45 2016-09-19 08:46:36

768 MB (ThemeLuxury)[45.76.194.179]                                     closed    $5.00   2016-09-19 08:39:51 2016-11-20 19:41:22

768 MB (V2)[108.61.163.150]                                             closed    $5.00   2016-08-24 21:37:19 2016-08-30 06:51:45

768 MB (VPN)[45.32.110.153]                                             closed    $5.00   2016-11-05 04:51:30 2016-11-05 05:17:30

768 MB (VPN)[45.76.34.168]                                              closed    $5.00    2016-11-27 19:19:51   2017-01-08 06:05:17

768 MB (VPN2)[45.76.153.114]                                            closed    $5.00   2016-12-01 05:43:51    2016-12-01 06:11:07

768 MB (VPS)[45.32.14.48]                                               closed    $5.00 2016-07-09 05:43:45 2016-07-09 06:19:14

768 MB (VPS)[108.61.247.91]                                             closed    $5.00 2016-08-23 00:45:23 2016-08-24 21:40:20

768 MB (VPS2)[45.76.102.232]                                            closed    $5.00 2016-08-30 06:28:28 2016-09-07 09:39:59

768 MB (VPS3)[45.32.19.165]                                             closed    $5.00 2016-09-07 09:30:03 2016-09-11 08:59:44

512 MB (VPSAIO)[45.76.199.179]                                          closed    $2.50   2017-03-03 20:51:55 2018-05-30 05:18:12

1024 MB (VPSPortal)[108.160.129.112]                                    closed    $5.00   2018-04-15 14:33:31 2018-05-30 04:15:42

2048 MB (VPSWin)[45.32.41.46]                                           closed   $20.00 2016-08-26 05:53:09 2016-08-26 08:48:21

512 MB (VPSWIN)[45.76.39.205]                                           closed    $2.50   2017-03-26 22:21:11 2017-03-26 22:32:39

2048 MB (VPSWIN)[45.76.163.132]                                         closed   $10.00 2017-06-07 10:09:50 2017-06-08 00:38:23

2048 MB (VPSWIN)[45.32.255.175]                                         closed   $20.00   2016-08-27 09:26:54 2016-08-27 10:26:34

4096 MB (VPSWIN)[45.32.29.99]                                           closed   $20.00   2017-07-03 04:35:48 2017-07-30 06:12:48

1024 MB (VPSWIN)[45.32.226.120]                                         closed    $5.00   2017-04-08 23:31:39 2017-04-09 21:45:36

2048 MB (VPSWIN)[45.32.107.240]                                         closed   $10.00   2017-06-14 20:53:24 2017-06-25 21:24:39

2048 MB (VPSWIN)[45.76.161.57]                                          closed   $10.00   2017-06-08 05:16:23 2017-06-08 06:29:56

1024 MB (VPSWin)[45.76.117.48]                                          closed    $5.00   2017-04-08 22:02:27 2017-04-08 23:33:08

1024 MB (VPSWIN)[45.32.54.169]                                          closed   $10.00   2017-02-18 03:32:26 2017-02-24 08:31:28

512 MB (VPSWIN)[45.76.145.7]                                            closed    $2.50   2017-03-26 08:03:47 2017-03-26 08:56:18

2048 MB (VPSWIN)[45.76.101.185]                                         closed   $20.00   2017-01-17 19:52:58 2017-01-20 06:56:23

1024 MB (VPSWIN)[45.32.106.82]                                          closed   $10.00   2016-12-30 09:38:13 2016-12-30 09:46:12

1024 MB (VPSWIN)[45.76.159.85]                                          closed   $10.00   2016-12-30 09:40:56 2017-01-08 06:05:28

2048 MB (VPSWIN)[45.77.32.199]                                          closed   $10.00   2017-05-21 22:34:11 2017-05-25 23:09:18

2048 MB (VPSWIN2)[45.76.215.22]                                         closed   $20.00   2017-01-17 23:02:06 2017-01-20 06:35:51

1024 MB (VPSWin2)[45.32.189.170]                                        closed    $5.00   2017-04-08 22:02:27 2017-04-08 22:47:04

2048 MB (VPSWIN3)[45.76.155.72]                                         closed   $20.00   2017-01-18 04:51:57 2017-01-20 06:36:03

2048 MB (VPSWIN4)[45.76.157.186]                                        closed   $20.00   2017-01-18 04:52:17 2017-01-21 20:22:29

512 MB (VPSWindows)[45.76.106.140]                                      closed    $2.50   2017-03-26 08:57:48 2017-03-26 11:45:22

2048 MB (VPSWINFrance)[104.238.188.253]                                 closed   $10.00   2017-06-25 03:26:13 2017-06-25 03:55:37

512 MB (VPSWP)[45.76.176.124]                                           closed    $2.50   2017-03-03 20:41:55 2017-03-03 20:52:37

768 MB (W7)[45.32.112.89]                                               closed    $5.00   2016-12-11 10:07:37    2016-12-11 10:13:21

1024 MB (WP1)[45.77.152.248]                                            closed    $5.00   2018-07-26 03:44:25 2018-07-26 03:51:21

1024 MB (WP2)[207.246.122.152]                                          closed    $5.00   2018-07-26 03:42:31 2018-07-26 03:51:31

1024 MB (WP3)[149.28.239.103]                                           closed    $5.00   2018-07-26 03:43:47 2018-07-26 03:51:10

512 MB CentOS 7 x64 - 149.28.46.179 (WPForest) (New York (NJ))          active    $2.50 2018-05-10 08:38:03




Payments
We store neither full credit card numbers nor BTC wallet IDs in our system.
     Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 3 of 12      PageID #:
                                          279
Transaction #          Date           Amount     Status     Type              Details

12108487        2019-04-07 22:20:02    -10.00   completed   paypal   justyousmileme@gmail.com



12108482        2019-04-07 22:19:26    -10.00   completed   paypal   justyousmileme@gmail.com



12095605        2019-04-06 10:29:56     0.00     denied     paypal   justyousmileme@gmail.com



11077475        2018-12-23 20:34:03    -50.00   completed   paypal   justyousmileme@gmail.com



10095422        2018-09-03 23:03:46    -50.00   completed   paypal   justyousmileme@gmail.com



8894037         2018-04-27 22:57:09    -50.00   completed   paypal   justyousmileme@gmail.com



7921951         2017-12-13 08:50:32    -50.00   completed   paypal   justyousmileme@gmail.com



7478198         2017-10-01 04:05:07     -5.00   completed   paypal   justyousmileme@gmail.com



7478186         2017-10-01 04:00:42    -25.00   completed   paypal    payment@apicodes.com



7445083         2017-09-24 10:51:25     0.00     denied     paypal   justyousmileme@gmail.com



7176647         2017-07-30 06:14:01    -25.00   completed   paypal   justyousmileme@gmail.com



7155188         2017-07-24 10:32:09     0.00     denied     paypal   justyousmileme@gmail.com



7005141         2017-06-20 23:18:33    -25.00   completed   paypal   justyousmileme@gmail.com



7005132         2017-06-20 23:16:05     0.00     denied     paypal   justyousmileme@gmail.com



6690151         2017-04-09 21:48:41    -20.00   completed   paypal   justyousmileme@gmail.com



6487310         2017-02-20 06:14:50    -10.00   completed   paypal   justyousmileme@gmail.com



6487306         2017-02-20 06:14:25    -10.00   completed   paypal   justyousmileme@gmail.com



6484106         2017-02-19 09:58:30     0.00     denied     paypal   justyousmileme@gmail.com



6480553         2017-02-18 06:38:02     0.00     denied     paypal   justyousmileme@gmail.com
     Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 4 of 12           PageID #:
                                          280

6480317           2017-02-18 03:43:54        0.00     denied     paypal   justyousmileme@gmail.com



6370903           2017-01-20 06:57:06       -10.00   completed   paypal   justyousmileme@gmail.com



6338849           2017-01-11 20:36:45       -10.00   completed   paypal   justyousmileme@gmail.com



6240719               2016-12-17 09:17:47   -10.00   completed   paypal   justyousmileme@gmail.com



6164436           2016-11-27 19:20:58       -10.00   completed   paypal   justyousmileme@gmail.com



6076438           2016-11-05 06:56:21        -5.00   completed   paypal   justyousmileme@gmail.com



6050062           2016-10-28 23:36:37       -10.00   completed   paypal   justyousmileme@gmail.com



6047883           2016-10-28 10:20:50        0.00     denied     paypal       admin@thispc.net



6031270           2016-10-24 10:25:54        0.00     denied     paypal       admin@thispc.net



6019378           2016-10-21 10:24:25        0.00     denied     paypal       admin@thispc.net



6006979           2016-10-18 10:05:00        0.00     denied     paypal       admin@thispc.net



5615670           2016-06-21 22:56:37        -1.00   completed   manual

5615669           2016-06-21 22:56:31        -1.00   completed   manual

5613375           2016-06-21 07:30:05       -20.00   completed   manual

5613374           2016-06-21 07:30:05        -5.00   completed   paypal       admin@thispc.net




Ticket Export
Ticket #3971200, Limit Increase Request

Date: 2018-05-21 23:22:08
From: justyousmileme@gmail.com


New Instance Limit:
10


New Monthly Instances Cost Limit:
      Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 5 of 12                                    PageID #:
                                           281
100


Intended Usage:
I want to deploy more server on Vultr, but at the moment limit 5 server, please help me change limit to 10. Thank you!

Date: 2018-05-22 12:32:14
From: jglynn@vultr.com


Hello Nguyen


Thank you for your information!


We have increased your account limits further. Please try deploying additional instances now.


To review your limits please go to: https://my.vultr.com/billing/#billinglimits


Please keep in mind that instances in a active/stopped state continue to reserve dedicated system resources (RAM, SSD
storage, IP aliases, CPU) and therefore incur charges until you destroy the instance.


When you wish to no longer accumulate charges for a virtual machine, please use the DESTROY button in the customer portal.


If you need further assistance please do not hesitate to contact us, we are happy to help.


Thank you for choosing Vultr,


Have a great day!
Jen G
Vultr.com




Ticket #3375636, Limit Increase Request

Date: 2017-10-15 09:54:00
From: justyousmileme@gmail.com


New Instance Limit:
100


New Instance Cost Limit:
2000


Intended Usage:
Vultr is the best services. I want to move all my website to Vultr. Therefore, I need to create more VPS.

Date: 2017-10-15 09:56:49
From: ncorrea@vultr.com


Hello,
       Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 6 of 12                                   PageID #:
                                            282
Please provide the business name and organization URL(s) under which you offer services and describe in as much detail as
possible what you intend to do with your instances. We need to know this in order to make an informed decision regarding your
account settings and resource limits to ensure the integrity of our network/systems/online reputation.


For reference, our Acceptable Use Policy is available at this URL:


https://www.vultr.com/legal/use_policy.php


Best Regards,
Nachelle
Vultr.com


Ticket #3328824, Vultr.com Account Funding **Warning**

Date: 2017-09-23 10:31:29
From:


Dear Vultr Customer,


Including pending charges, your account is carrying a $1.24 balance.


In order to cover your current balance and your estimated monthly costs, our billing system will automatically deposit $10.00
from your payment method on file in 24 hours.


You can review your current balance or make a deposit for a different amount directly from your customer portal:


https://my.vultr.com/billing/



Account Logins
These are logins to the account members area only (https://my.vultr.com), not to any deployed instance.

Date                               IP

2019-04-07 22:18:41                Account IP: 125.214.60.237

2019-03-25 11:06:28                Account IP: 125.214.60.237

2019-03-25 09:34:16                Account IP: 125.214.60.237

2019-03-12 04:30:46                Account IP: 125.214.60.165 IPv6: 2402:800:6312:938a:61d4:3745:b34f:218d

2019-03-11 19:58:44                Account IP: 125.214.60.165 IPv6: 2402:800:6312:938a:3d0a:a417:bbf7:d516

2019-02-18 09:58:30                Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:acad:f06f:6b36:f3d7

2019-02-18 08:22:16                Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:acad:f06f:6b36:f3d7

2019-02-18 05:49:57                Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:acad:f06f:6b36:f3d7

2019-02-18 03:53:48                Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:acad:f06f:6b36:f3d7

2019-02-18 02:51:12                Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:acad:f06f:6b36:f3d7

2019-02-17 23:30:46                Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:e5dd:5cb9:2ca5:216a
    Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 7 of 12                         PageID #:
                                         283
2019-02-17 22:20:41    Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:e5dd:5cb9:2ca5:216a

2019-02-12 22:05:57    Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:d823:f18f:6a0b:ebad

2019-02-12 20:34:26    Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:d823:f18f:6a0b:ebad

2019-02-12 08:13:12    Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:2182:9ed5:b45d:4941

2019-02-11 21:48:27    Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:896a:27bc:49dd:5977

2019-02-11 20:37:55    Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:896a:27bc:49dd:5977

2019-02-11 19:17:22    Account IP: 125.214.58.222 IPv6: 2402:800:6312:d27a:896a:27bc:49dd:5977

2019-01-26 00:35:09    Account IP: 125.214.60.180

2019-01-25 19:15:00    Account IP: 125.214.60.180

2019-01-25 10:48:15    Account IP: 125.214.60.180

2019-01-25 09:56:58    Account IP: 125.214.60.180

2019-01-25 08:05:47    Account IP: 125.214.60.180

2018-12-23 20:33:22    Account IP: 125.214.57.189

2018-11-09 03:48:35    Account IP: 116.99.224.185 IPv6: 2402:800:623c:e388:75c3:f409:157:a1

2018-11-04 00:01:55    Account IP: 171.251.35.37 IPv6: 2402:800:623c:ebb2:99af:cd0e:5d49:a5bf

2018-11-03 23:13:18    Account IP: 171.251.35.37 IPv6: 2402:800:623c:ebb2:99af:cd0e:5d49:a5bf

2018-11-03 21:42:36    Account IP: 171.251.35.37

2018-11-03 21:42:32    Account IP: 171.251.35.37 IPv6: 2402:800:623c:ebb2:99af:cd0e:5d49:a5bf

2018-10-30 06:46:36    Account IP: 171.251.35.37 IPv6: 2402:800:623c:ebb2:99af:cd0e:5d49:a5bf

2018-10-27 23:39:28    Account IP: 171.251.35.37

2018-10-27 20:54:56    Account IP: 171.251.35.37 IPv6: 2402:800:623c:ebb2:99af:cd0e:5d49:a5bf

2018-10-24 04:50:51    Account IP: 27.71.156.57

2018-10-02 20:14:35    Account IP: 116.105.60.50 IPv6: 2402:800:623c:3c33:6946:3820:813c:f5ca

2018-09-27 03:45:27    Account IP: 27.79.89.248

2018-09-26 21:47:05    Account IP: 27.79.89.248

2018-09-21 06:12:24    Account IP: 27.79.89.248

2018-09-04 06:11:39    Account IP: 125.212.159.167

2018-09-03 23:03:16    Account IP: 125.212.159.167

2018-09-03 08:50:09    Account IP: 125.212.159.167

2018-09-03 07:41:42    Account IP: 125.212.159.167

2018-08-29 23:00:13    Account IP: 125.212.159.167

2018-08-29 21:43:00    Account IP: 125.212.159.167

2018-08-29 20:59:47    Account IP: 125.212.159.167

2018-08-28 08:11:17    Account IP: 116.105.95.90

2018-08-16 05:37:19    Account IP: 116.105.50.10

2018-08-16 04:34:04    Account IP: 116.105.50.10

2018-08-16 00:16:14    Account IP: 116.105.50.10

2018-08-10 23:33:56    Account IP: 116.105.50.10
    Case 1:19-cv-00169-LEK-KJM Document 34-2 Filed 07/07/19 Page 8 of 12   PageID #:
                                         284
2018-08-08 03:49:39    Account IP: 116.105.50.10

2018-08-03 03:21:33    Account IP: 27.66.3.219

2018-07-26 03:38:59     116.105.53.248

2018-07-21 22:53:46     116.105.53.248

2018-06-21 00:32:27     171.251.35.92

2018-06-05 06:10:08     27.79.86.12

2018-06-05 03:47:01     27.79.86.12

2018-06-05 01:21:11     27.79.86.12

2018-06-05 00:47:56     27.79.86.12

2018-06-05 00:17:05     27.79.86.12

2018-06-04 22:41:21     27.79.86.12

2018-06-03 23:26:01     27.79.86.12

2018-05-30 04:57:23     116.99.181.134

2018-05-30 03:42:31     116.99.181.134

2018-05-26 06:23:05     116.99.181.134

2018-05-25 03:51:50     116.99.181.134

2018-05-23 00:00:22     116.99.181.134

2018-05-22 20:24:58     116.99.181.134

2018-05-22 08:24:34     116.99.181.134

2018-05-22 05:23:25     116.111.133.80

2018-05-22 02:28:25     116.111.133.80

2018-05-22 00:09:11     116.111.133.80

2018-05-21 23:13:15     116.111.133.80

2018-05-10 19:37:45     116.111.133.80

2018-05-10 09:11:17     116.111.133.80

2018-05-10 08:36:09     116.111.133.80

2018-05-09 20:58:22     27.69.226.203

2018-05-05 19:38:31     27.69.226.203

2018-04-27 22:55:22     171.251.42.55

2018-04-16 23:52:32     116.99.235.115

2018-04-15 21:47:06     116.99.235.115

2018-04-15 16:24:39     116.99.235.115

2018-04-15 14:32:43     116.99.235.115

2018-04-15 09:01:51     116.99.235.115

2018-04-14 09:58:43     116.99.235.115

2018-04-05 08:42:52     116.105.89.181

2018-02-24 04:21:46     171.226.158.226

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2017-10-16 10:31:28     171.251.45.56

2017-10-16 07:42:43     171.251.45.56

2017-10-16 05:38:42     171.251.45.56

2017-10-16 04:25:44     171.251.45.56

2017-10-16 03:47:31     171.251.45.56

2017-10-16 02:12:26     171.251.45.56

2017-10-16 00:47:20     171.251.45.56

2017-10-15 09:07:17     171.251.45.56

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2017-10-12 23:46:37     171.251.45.56

2017-10-12 22:42:31     171.251.45.56

2017-10-12 09:24:09     171.251.45.56

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2017-10-11 19:23:30     171.251.45.56

2017-10-11 10:38:00     171.251.45.56

2017-10-11 06:25:17     171.251.45.56

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2017-03-26 22:16:47    116.98.210.220

2017-03-26 11:45:13    116.98.210.220

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2017-03-03 20:40:51    116.98.210.26

2017-03-02 06:49:27    116.98.210.26

2017-03-02 05:02:03    116.98.210.26

2017-03-01 00:29:19    116.98.210.26

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2017-02-19 09:58:05    116.98.213.224

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2016-12-30 09:34:58    116.110.151.231

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2016-12-01 05:43:32    116.99.120.204

2016-12-01 05:05:33    116.99.120.204

2016-11-30 18:43:27    116.99.120.204

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2016-11-09 03:48:23    116.110.108.43

2016-11-05 09:48:27    116.110.108.43

2016-11-05 06:55:00    116.110.108.43

2016-11-05 04:50:52    116.110.108.43

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2016-08-26 08:48:09    116.110.219.180

2016-08-26 05:46:16    116.110.219.180

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                                   2016-06-22 05:09:37    116.110.108.121

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